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                        AFFIDAVIT IN SUPPORT OF PROBABLE CAUSE

        I, Eric H. Mercer, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives,

having been duly sworn, state:

                                           INTRODUCTION

        I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) and

have worked there since January of 2020. I am currently assigned to the Bridgewater, Massachusetts Field

Office. Prior to my employment with the ATF, I was employed as a Trooper with the New Hampshire State

Police from 2018 to 2020. During my time there, I received training in conducting motor vehicle and

criminal investigations. As a ATF Special Agent I have received training and obtained experience into

conducting investigations involving firearm trafficking and possession of firearms by persons including,

felons, gang members, parolees, narcotics users and narcotics firearms traffickers. Through my law

enforcement training and my participation in controlled purchases of narcotics and firearms, search

warrants, I am familiar with the methods that are most commonly used by unlawful firearms traffickers and

people dealing in firearms without a Federal Firearms License. Based on my training and experience as an

ATF Special Agent, I am familiar with the federal firearms and narcotics laws.

        This affidavit is submitted in connection with an application for a criminal complaint charging Jose

MONTANEZ with being a Felon in Possession of a Firearm and Ammunition, in violation of 18 U.S.C. §

922(g)(1).

        The statements contained in this affidavit are based on my own investigation and on documents

and information provided to me by fellow agents and task force officers of the ATF, Officers and Detectives

with the New Bedford Police Department, and/or laboratory certifications and reports. This affidavit is

submitted for the limited purpose of establishing probable cause and therefore does not set forth all of the

information that I,   and other law enforcement personnel, have obtained during the course of this

investigation.
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                                            PROBABLE CAUSE

        In July 2020, New Bedford Police Department Narcotics Detective, Stephen Gwozdz, received

information from a reliable Confidential Informant (CI) who informed him that the CI observed Jose

MONTANEZ in possession of a black semiautomatic pistol, inside of the Capri Motel Room #171, located

at 741 State Road in Dartmouth, Massachusetts. The CI informed Detectives that MONTANEZ showed the

CI a loaded firearm with real bullets; causing the CI to perceive the firearm to be real and functioning. The

CI positively identified MONTANEZ in a booking photo shown to the CI by Detectives. The

aforementioned CI is registered with the New Bedford Police Department and has provided information

previously to members of the New Bedford Police Department that resulted in state search warrants, the

seizure of cocaine, and arrests related to narcotics trafficking.

        Detectives conducted queries on MONTANEZ which revealed that MONTANEZ did not possess

a Massachusetts License to Carry Firearms and that MONTANEZ has an extensive criminal history,

including multiple felony charges. Detective Derek Sousa, of the Dartmouth Police Department, obtained

registry information from the Capri Motel and observed that MONTANEZ was currently registered and

renting Room #171. On July 14, 2020, Detective Gwozdz conducted surveillance of the Capri Motel Room

#171 and observed MONTANEZ exiting and returning to the room.

        On July 15, 2020, Detective Gwozdz, along with other Detectives from the New Bedford Police

Narcotics Unit, initiated surveillance at MONTANEZ’s room at the Capri Motel in preparation for

executing a state search warrant of Motel Room #171 and all persons present. Detectives observed

MONTANEZ exiting the Capri Motel Room and subsequently get into another individuals vehicle.

Detectives followed the vehicle and stopped it shortly thereafter. MONTANEZ was detained by Detectives

and read his Miranda rights.

        Detectives then brought MONTANEZ back to his room at the Capri Motel. Detectives then

attempted to enter the room utilizing two of the swipe key cards that MONTANEZ had on him. The swipe

keys did not work and Detectives made a forced entry into Room #171 utilizing a battering ram after


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identifying themselves as police to any potential occupants. Detectives then took MONTANEZ into the

room and the search commenced.

        New Bedford Detective Lieutenant Justin Kagan located 8 tabs of suspected Alprazolam along the

North wall of the room. Additionally, Detective Lieutenant Kagan located 279 rounds of .22 caliber

ammunition and 29 rounds of .40 caliber ammunition on the bottom shelf of a nightstand along the North

wall of the room.

        New Bedford Detective Sergeant Jonathan Lagoa located a green prescription bottle for Oxycodone

with an obliterated name containing 9 tabs of suspected Oxycodone along the top shelf of a microwave

stand towards the South wall of the room.

        New Bedford Detective/ATF Task Force Officer (TFO) Lavar Gilbert located a Smith & Wesson,

Bodyguard, .380 caliber pistol, s/n KFS5969, loaded with six .380 caliber rounds of ammunition in a

magazine, a spare magazine loaded with six .380 caliber rounds of ammunition, a Springfield, XD-40, .40

caliber pistol, s/n US297576, loaded with 13 rounds of .40 caliber ammunition, a spare magazine loaded

with eleven rounds of .40 caliber ammunition, and a H&R, model 922, .22 caliber revolver s/n P440960,

all located under the mattress in the room.

        New Bedford Detective Kevin Barbosa located two plastic bags of approximately 8.5 grams of

suspected crack cocaine and one plastic bag of approximately 1 gram of suspected fentanyl on top of the

microwave stand. Detective Barbosa also located 4 tabs of suspected Oxycodone on MONTANEZ’s

persons along with $415 in US currency.

        Additional evidence of drug trafficking was found within the apartment, including digital scales

and plastic baggies..

        Based on my training and experience, I know that the presence of narcotics, along with materials

such as digital scales and plastic baggies is indicative of drug distribution, rather than simple drug use.

        Subsequent to the execution of the search warrant, Detectives spoke with Witness 1, the proprietor

of the Capri Motel. Witness 1 advised Detectives that MONTANEZ had been staying in Room #171 since

July 03, 2020. Witness 1 further advised Detectives that the reason the swipe cards to the room did not

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function was because MONTANEZ had not yet paid for the night but pays daily for the room in cash.

                                  PRIOR FELONY CONVICTION

        A review of certified court records revealed that MONTANEZ has previously been convicted of

the following felony offense, punishable by a term exceeding one year:

            x   New Bedford District Court, Docket #1833CR004078. MONTANEZ pled guilty to

                Uttering a False Prescription and was sentenced on 6/21/19.


                   INTERSTATE NEXUS OF FIREARMS AND AMMUNITON

        ATF Special Agent Patrick Briody, an Interstate Nexus Expert, has examined the Springfield XD-

40 pistol, the Smith & Wesson Bodyguard pistol, the H&R Model 922 revolver, as well as the assorted .40

caliber ammunition, the assorted .380 caliber ammunition, and the assorted .22 caliber ammunition. It was

determined the Springfield XD-40 pistol and the Smith & Wesson Bodyguard pistol were manufactured

outside of the State of Massachusetts. The H&R Model 922 was determined to have been manufactured in

the State of Massachusetts; however, a query of the National Tracing Center revealed the firearm was

purchased in 2018 in the State of Maine. The aforementioned rounds of ammunition were also

manufactured outside of the State of Massachusetts. Therefore, all firearms and ammunition have affected

interstate commerce and necessarily crossed state lines prior to being recovered at the Capri Motel in

Dartmouth, Massachusetts. Additionally, each of the listed firearms and ammunition meet the federal

definition of a firearm and ammunition.




                                            CONCLUSION

        Based on the information described above, there is probable cause to believe that on July 14, 2020

MONTANEZ:

            a. Knowing that he had been previously convicted of a crime punishable by a term of

                imprisonment exceeding one year, did possess, in and affecting interstate commerce, a

                Smith and Wesson .380 Bodyguard, serial number KFS5969; a H&R Revolver, serial

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               number P440960; a Springfield XP-40 .40 caliber handgun, serial number US297576; and

               315 rounds of ammunition, all in violation of Title 18, United States Code, Section 922 (g)

               (1).

Signed electronically and sworn to via telephone in accordance with Federal Rule of Criminal Procedure

4.1 on _________________

                                        _/s/ Eric Mercer_____________________
                                        Special Agent Eric Mercer
                                        Bureau of Alcohol, Tobacco, Firearms and Explosives


Electronically subscribed and telephonically sworn to before me this ____________________


                                        _________________________________________
                                        Marianne B. Bowler
                                        UNITED STATES MAGISTRATE JUDGE




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